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MINUTE ENTRY
MORGAN, J.
February 25, 2022



                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

SHARON LEWIS,                                                CIVIL ACTION
    Plaintiff

VERSUS                                                       NO. 21-198-SM-RLB

LOUISIANA STATE UNIVERSITY, ET AL.,
    Defendants


                                  MINUTE ENTRY

      A video status conference was held on February 25, 2022, at 9:00 a.m., in the

chambers of Judge Susie Morgan.

      Present:      Larry English and Albert Van-Lare, counsel for Plaintiff,
                    Sharon Lewis;

                    Susan Furr and Molly McDiarmid, and Shelton Blunt, counsel
                    for Defendants, Board of Supervisors of Louisiana State
                    University and Agricultural and Mechanical College (“the
                    Board”), James Williams, and Mary Leach Werner;

                    Jimmy Faircloth, for Defendants, Garrett “Hank” Danos,
                    Robert “Bobby” Yarborough, and Stanley Jacobs;

                    Robin Sylvester, counsel for Defendant, William Jenkins;

                    Joseph Cullens and Brandon Black, counsel for Defendants,
                    William Shelby McKenzie, Vicki Crochet, and Robert “Bob”
                    Barton;

                    Christopher Zainey and Peter Ginsberg, counsel for
                    Defendant, Leslie Edwin “Les” Miles;

                    Seth Lawrence, counsel for Defendant, Joseph “Joe” Alleva;



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                        Camille Bryant, counsel for Defendant, Scott Woodward;

                        Darren Patin, counsel for Defendant, Verge Ausberry; and

                        John Walsh and Mary White, counsel for Defendant, Miriam
                        Segar.

        The parties discussed Plaintiff’s motion for leave1 to file a second amended

complaint and first amended RICO case statement and whether the proposed amended

pleadings2 comply with the Court’s December 2, 2021 Order and Reasons3 and with the

Court’s January 19, 2022 Order and Reasons.4 The Court informed Plaintiff’s counsel that

the proposed second amended complaint and proposed first amended RICO case

statement do not comply with the Court’s previous orders.5 The Court instructed Plaintiff

to correct her proposed second amended complaint as follows:

               To amend the caption so that the caption thereon matches the captions
                contained on this Court’s orders;

               To remove paragraphs 3 and 4 in order to remove James Williams and
                March Leach Werner as named defendants, in light of their dismissal with
                prejudice from the case;6

               To delete the reference to a “hostile working environment” in paragraph 95,
                as the Court has previously ruled Plaintiff cannot state a claim for a hostile
                environment under Title IX;7

               To delete Williams, Werner, and Milles from the list of Defendants under
                “COUNT II” on page 20, as these individuals have been dismissed as RICO
                defendants;8




1 R. Doc. 190.
2 R. Docs. 190-3 and 190-11.
3 See R. Doc. 165.
4 R. Doc. 185.
5 Accordingly, Plaintiff’s motion for leave to file a second amended complaint and first amended RICO

case statement (R. Doc. 190) is HEREBY DENIED.
6 See R. Doc. 210.
7 See R. Doc. 165.
8 See id. See also R. Doc. 210.


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                  To clarify paragraphs 301 and 302 to reflect that Plaintiff is no longer a
                   defendant in Owens, et al. v. Louisiana State University, et al. (Case No.
                   21-242) action, also pending in the Middle District of Louisiana; and

                  To remove the claim for damages under 42 U.S.C. § 1981 on page 69 under
                   the section titled “Plaintiff’s Plea for Damages and Remedies,” as the Court
                   has previously dismissed Plaintiff’s claim under 42 U.S.C. § 1981 with
                   prejudice.9

          In addition, the Court instructed Plaintiff to correct her proposed first amended

RICO case statement by removing Mary Leach Werner and James Williams from the list

of named defendants in section 2, on page 2.

          Plaintiff requested leave to amend her complaint to add a claim against the Board

under title VII. The Board does not object to this request. Upon motion, the Court will

permit Plaintiff leave to add this claim to her proposed second amended complaint.

          On or before Friday, March 4, 2022, Plaintiff shall file a motion for leave to file

a second amended complaint and RICO case statement, incorporating the corrections,

clarifications, and additions discussed during the status conference and outlined above.

          New Orleans, Louisiana, this 25th day of February, 2022.


                                              ______________________ _________
                                                        SUSIE MORGAN
                                                UNITED STATES DISTRICT JUDGE




        JS10 (0:49)




9   See R. Doc. 165.

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